                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

MAY SISK,                             *
individually,                         *
                                      *
      Plaintiff,                      *
                                      *
v.                                    *   Case No._______________
                                      *
CBR THOMPSON LANE, LLC,               *
a domestic limited liability company, *
                                      *
      Defendant.                      *
______________________________________________________________________________

                                           COMPLAINT

        Plaintiff MAY SISK (“SISK” or “Plaintiff”) hereby sues CBR THOMPSON LANE, LLC

( “Defendant”) pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”), and its implementing regulations, the ADA’s Accessibility Guidelines, 28 C.F.R. Part

36 (“ADAAG”) and alleges as follows:

                                JURISDICTION AND PARTIES

       1.       This is an action for declaratory and injunctive relief pursuant to Title III of the

ADA. This Court is vested with original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant CBR

THOMPSON LANE, LLC’s failure to remove physical barriers to access and violations of Title

III of the ADA.

       2.       Venue is properly located in the Middle District of Tennessee pursuant to 28 U.S.C.

§ 1391(b) because venue lies in the judicial district of the property situs or the judicial district in

which a substantial part of the events or omissions giving rise to Plaintiff’s claims occurred. The




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Defendant’s property is located in and does business within this judicial district and all events

giving rise to this lawsuit occurred in this judicial district.

        3.      Plaintiff, MAY SISK, is and has been at all times relevant to the instant matter, a

natural person residing in Tennessee and is sui juris.

        4.      Plaintiff is an individual with disabilities as defined by the ADA and is substantially

limited in performing one or more major life activities, including but not limited to: walking,

standing, grabbing, grasping and/or pinching. Plaintiff uses a wheelchair for mobility purposes.

        5.      Plaintiff is also an independent advocate of the rights of similarly situated disabled

persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. Plaintiff’s motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make her home community more accessible for Plaintiff and others; and pledges to do

whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the subject property,

including returning to the Subject Property as soon as it is accessible (“Advocacy Purposes”).

        6.      Defendant, CBR THOMPSON LANE, LLC, is a limited liability company

conducting business in the State of Tennessee and within this judicial district.

                                    FACTUAL ALLEGATIONS

        7.      On multiple prior occasions and most recently in August 2020, Plaintiff attempted

to but was deterred from patronizing and/or gaining equal access as a disabled patron to the El

Mariachi restaurant located at 614 Thompson Lane, Nashville, Tennessee, 37211.

        8.      CBR THOMPSON LANE, LLC, is the owner, lessor, and/or operator/lessee of the

real property and improvements that are the subject of this action, specifically the El Mariachi



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restaurant and its attendant facilities, including vehicular parking and exterior paths of travel

within the site identified by the Nashville Planning Department by Parcel ID: 11812006500

(“Subject Facility”, “Subject Property”).

       9.      Plaintiff lives less than two (2) miles from the Subject Facility.

       10.     Because the Subject Facility is in the immediate vicinity of the Plaintiff’s residence,

she is constantly in the area where the subject facility is located and therefore travels near the

Subject Facility most each time she leaves her residence, i.e., numerous times every week.

       11.     Plaintiff’s access to El Mariachi located at 614 Thompson Lane, Nashville,

Tennessee (“Subject Property”, “Subject Facility”), and/or full and equal enjoyment of the food,

beverages, services, facilities, privileges, advantages and/or accommodations offered therein were

denied and/or limited because of her disabilities, and she will be denied and/or limited in the future

unless and until Defendant, CBR THOMPSON LANE, LLC, is compelled to remove the physical

barriers to access and correct the ADA violations that exist at the El Mariachi restaurant including

those set forth in this Complaint.

       12.     Plaintiff has visited El Mariachi at least once before as a customer and advocate for

the disabled. Plaintiff intends on revisiting El Mariachi within six months of the filing of this

Complaint or sooner, as soon as the barriers to access detailed in this Complaint are removed. The

purpose of the revisit is to be a regular customer, to determine if and when El Mariachi is made

accessible, and to maintain standing for this lawsuit for Advocacy Purposes.

       13.     Living in the immediate vicinity, Plaintiff intends on revisiting El Mariachi to enjoy

the same dining experience and related services as a non-disabled customer as well as for

Advocacy Purposes, but does not intend to re-expose herself to the ongoing barriers to access and




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engage in a futile gesture of visiting the public accommodation known to Plaintiff to have

numerous and continuing barriers to access.

       14.     Plaintiff traveled to El Mariachi as a customer and as an independent advocate for

the disabled, encountered and/or observed the barriers to access that are detailed in this Complaint,

engaged those barriers where physically possible, suffered legal harm and legal injury, and will

continue to suffer such harm and injury as a result of the illegal barriers to access present at El

Mariachi.

                      COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                         (Against Defendant for ADA Violations)

       15.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       16.      El Mariachi is a public accommodation and service establishment.

       17.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

of Justice and Office of Attorney General promulgated federal regulations to implement the

requirements of the ADA. 28 C.F.R. Part 36.

       18.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       19.     El Mariachi must be, but is not, in compliance with the ADA and the ADAAG.

       20.     Plaintiff has attempted to, and has to the extent possible, accessed El Mariachi in

her capacity as a customer at El Mariachi and as an independent advocate for the disabled, but

could not fully do so because of her disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at El Mariachi that preclude and/or limit her


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access to El Mariachi and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       21.     Plaintiff intends to visit El Mariachi again in the very near future as a customer and

as an independent advocate for the disabled, in order to utilize all of the food, beverages, services,

facilities, privileges, advantages and/or accommodations commonly offered to able-bodied

customers of El Mariachi but will be unable to fully do so because of her disability and the

physical barriers to access, dangerous conditions and ADA violations that exist at El Mariachi

that preclude and/or limit her access to El Mariachi and/or the food, beverages, services, facilities,

privileges, advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

       22.     Defendant, CBR THOMPSON LANE, LLC, has discriminated against Plaintiff

(and others with disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of El Mariachi, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

       23.     Defendant, CBR THOMPSON LANE, LLC, will continue to discriminate against

Plaintiff and others with disabilities unless and until Defendant, CBR THOMPSON LANE, LLC,

is compelled to remove all physical barriers that exist at El Mariachi, including those specifically

set forth herein, and make El Mariachi accessible to and usable by Plaintiff and other persons

with disabilities.

       24.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s




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access to El Mariachi and the full and equal enjoyment of the food, beverages, services, facilities,

privileges, advantages and accommodations of El Mariachi include, but are not limited to:

                                           PARKING

              a. There is no visible upright signage (displaying the International
                 Symbol of Accessibility) designating any parking spaces as
                 accessible in violation of Section 4.6 of the 1991 ADAAG and
                 Section 502 of the 2010 ADAAG. This violation made it
                 dangerous for Plaintiff to utilize the parking facility at the
                 Subject Property and caused Plaintiff undue upset and loss of
                 opportunity.

              b. The accessible parking spaces are not level in violation of
                 Sections 4.5.1 and 4.6.3 of the 1991 ADAAG and Sections 302
                 and 502.4 of the 2010 ADAAG. This violation made it
                 dangerous for Plaintiff to utilize the parking facility at the
                 Subject Property and caused Plaintiff undue upset and loss of
                 opportunity.

              c. The shared access aisle serving the designated accessible
                 parking spaces is not level in violation of Section 4.6.3 of the
                 1991 ADAAG and Sections 302 and 502.4 of the 2010 ADAAG.
                 These violations made it dangerous for Plaintiff to utilize the
                 parking facility at the Subject Property and caused Plaintiff
                 undue upset and loss of opportunity.


                                 ACCESSIBLE ROUTE/RAMP

              d. The accessible entrance ramp lacks level top and bottom
                 landings. Violation: The ramp has a bottom landing that is not
                 level and does not have a top landing in violation of Section
                 4.8.4 of the 1991ADAAG and Section 406.4 of the 2010
                 ADAAG. This violation prevented equal access to the plaintiff
                 and caused Plaintiff undue upset and loss of opportunity.

              e. The handrails present on the accessible entrance ramp run/stairs
                 are not accessible to individuals with mobility impairments.
                 Violation: The existing handrails fail to meet the minimum size
                 and shape requirements for accessible handrail gripping surfaces
                 in violation of Section 4.26.2 of the 1991 ADAAG and Section
                 505 of the 2010 ADAAG. This violation prevented access to the

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          plaintiff equal to that of Defendant’s able-bodied customers
          causing Plaintiff undue upset and loss of opportunity.

                          ACCESSIBLE ENTRANCE

       f. The accessible entrance does not provide the minimum requisite
          level maneuvering clearance for a forward approach to the pull
          side of the designated accessible entry door in violation of
          Section 4.13.6 of the 1991 ADAAG and Section 404.2.4 of the
          2010 ADAAG. This violation made it dangerous for Plaintiff to
          access the Subject Facility and caused Plaintiff undue upset and
          loss of opportunity.

       g. There is insufficient maneuvering clearance for a wheelchair
          user to make a forward approach due to an obstruction at the
          latch side of the doorway. Violation: The accessible entrance
          doorway is designed such as to maintain a fixed obstruction of
          the minimum required clear maneuvering space required within
          18 inches of the latch side of the recessed entry doorway. This
          obstruction projects more than 8 inches beyond the face of the
          recessed door, measured perpendicular to the face of the
          recessed entry door in violation of Section 4.13.6 of the 1991
          ADAAG and Section 404.2.4.3 of the 2010 ADAAG. This
          violation prevented equal access to the plaintiff and caused
          Plaintiff undue upset and loss of opportunity.

       h. The accessible entrance door closer closes too quickly.
          Violation: The sweep speed settings of the door closer for the
          accessible entrance door has not been maintained properly by
          Defendant which has caused the door closing speed to increase
          with time and use so that the time allowed to transition the door,
          from an open position of 90 degrees to a position of 12 degrees
          from the latch, is too brief to allow individuals with mobility
          impairments to enter and/or exit safely, independently and/or
          without difficulty, in violation of Section 4.13.10 of the 1991
          ADAAG and Section 404.2.8 of the 2010 ADAAG. This
          accessible feature is not being maintained by Defendant in
          violation of 28 CFR § 36.211. These violations prevented equal
          access to the plaintiff and caused Plaintiff undue upset and loss
          of opportunity.

                        MAINTENANCE PRACTICES


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              i.   Defendant has a practice of failing to maintain the accessible
                   features of the facility, creating barriers to access for the
                   Plaintiff, as set forth herein, in violation of 28 CFR § 36.211.
                   This practice prevented access to the plaintiff equal to that of
                   Defendant’s able-bodied customers causing Plaintiff undue
                   upset and loss of opportunity.

              j.   Defendant has a practice of failing to maintain the accessible
                   elements at the Subject Facility by neglecting its continuing duty
                   to review, inspect, and discover transient accessible elements
                   which by the nature of their design or placement, frequency of
                   usage, exposure to weather and/or other factors, are prone to
                   shift from compliant to noncompliant so that said elements may
                   be discovered and remediated. Defendant failed and continues
                   to fail to alter its inadequate maintenance practices to prevent
                   future recurrence of noncompliance with dynamic accessible
                   elements at the Subject Facility in violation of 28 CFR § 36.211,
                   the 1991 ADAAG, and the 2010 ADAAG. These violations, as
                   set forth hereinabove, made it impossible for Plaintiff to
                   experience the same access to the goods, services, facilities,
                   privileges, advantages and accommodations of the Subject
                   Facility as Defendant’s able-bodied patrons and caused Plaintiff
                   undue upset and loss of opportunity.

              k.   Defendant has failed to modify its discriminatory maintenance
                   practices to ensure that, pursuant to its continuing duty under the
                   ADA, the Subject Property remains readily accessible to and
                   usable by disabled individuals, including Plaintiff, as set forth
                   herein, in violation of 28 CFR § 36.302 and 36.211. This failure
                   by Defendant prevented access to the plaintiff equal to that of
                   Defendant’s able-bodied customers causing Plaintiff undue
                   upset and loss of opportunity.

       25.     The discriminatory violations described above are not an exhaustive list of the

Defendant’s current barriers to equal access and violations of the ADA because Plaintiff was

unable to access and assess all areas of the subject premises due to the architectural barriers

encountered. A complete list of the subject location’s ADA violations affecting the Plaintiff as a

wheelchair user, and the remedial measures necessary to remove same, will require an on-site

inspection by Plaintiff’s representatives pursuant to Federal Rule of Civil Procedure 34. Once the

Plaintiff personally encounters discrimination, as alleged above, or learns of discriminatory


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violations through expert findings of personal observation, she has actual notice that the defendant

does not intend to comply with the ADA.

         26.   The defendant has a practice of failing to maintain the accessible elements at the

Subject Facility by neglecting its continuing duty to review, inspect, and discover transient

accessible elements which by the nature of their design or placement, frequency of usage, exposure

to weather and/or other factors, are prone to shift from compliant to noncompliant, so that said

elements are discovered and remediated. Defendant failed and continues to fail to alter its

inadequate maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Facility in violation of 28 CFR §§ 36.202 and 36.211. These

violations, as referenced hereinabove, made it impossible for Plaintiff, as a wheelchair user, to

experience the same access to the food, beverages, services, facilities, privileges, advantages and

accommodations of El Mariachi as Defendant’s able-bodied customers.

         27.   Accessible elements at El Mariachi have been altered and/or constructed since

2010.

         28.   The foregoing violations are violations of the 1991 ADAAG, and the 2010

ADAAG, as adopted by the U.S. Department of Justice. In instances where the 2010 ADAAG

standards do not apply, the 1991 ADAAG standards apply, and all of the alleged violations set

forth herein can be modified to comply with the 1991 ADAAG standards.

         29.   The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

         30.   Each of the violations alleged herein is readily achievable to modify to bring The

El Mariachi into compliance with the ADA.



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       31.     Removal of the physical barriers and dangerous conditions present at El Mariachi

is readily achievable because of the site conditions at the subject property, the structural design of

the subject facility, and the straightforward nature of the necessary modifications.

       32.     To assist businesses in offsetting the costs associated with complying with the ADA

and removing barriers to access for individuals with disabilities, Section 44 of the IRS Code

provides a tax credit for small business owners, and Section 190 of the IRS Code provides a tax

deduction for all business owners, including the Defendants.

       33.     Removal of the physical barriers and dangerous conditions at El Mariachi is readily

achievable because of the relative low cost of the necessary modifications and the Defendant has

the financial resources to make the modifications, including the financial assistance made available

to Defendant by the government pursuant to Section 44 and/or Section 190 of the IRS Code.

       34.     By continuing to maintain and/or operate the subject property with discriminatory

conditions in violation of the ADA, Defendant contributes to Plaintiff’s sense of isolation and

segregation and deprives Plaintiff of the full and equal enjoyment of the goods, services, facilities,

privileges, and accommodations available to able bodied individuals of the general public.

       35.     Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for its places of public accommodation that have

existed prior to January 26, 1992, 28 CFR 36.304(a); additionally, if there has been an alteration

to Defendant’s place of public accommodation since January 26, 1992, then Defendant is required

to ensure to the maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use wheelchairs, 28

CFR 36.402; and finally, if the Defendant’s facilities were designed and constructed for first

occupancy subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant’s



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facilities must be readily accessible to and useable by individuals with disabilities as defined by

the ADA. To date, Defendant has failed to comply with this mandate.

       36.     Plaintiff is without adequate remedy at law and is suffering irreparable harm and

reasonably anticipates that she will continue to suffer irreparable harm unless and until Defendants,

CBR THOMPSON LANE, LLC, is required to remove the physical barriers, dangerous conditions

and ADA violations that exist at El Mariachi, including those alleged herein. Considering the

balance of hardships between the Plaintiff and Defendant, a remedy in equity is warranted.

       37.     Plaintiff’s requested relief serves the public interest.

       38.     Plaintiff’s counsel is entitled to recover its reasonable attorneys’ fees and costs of

litigation from Defendants, CBR THOMPSON LANE, LLC pursuant to 42 U.S.C. §§ 12188,

12205 and 28 CFR 36.505. Plaintiff will be denied full and equal access to the subject premises,

as provided by the ADA unless the injunctive relief requested herein is granted.

       39.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

Plaintiff injunctive relief; including an Order to alter the subject facilities to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA, and

closing the subject facilities until the requisite modifications are completed, and ordering

Defendant to fulfill its continuing duty to maintain the accessible features at the premises in the

future as mandated by 28 CFR 36.211.

       WHEREFORE, the Plaintiff prays as follows:

       A.      That the Court find Defendants, CBR THOMPSON LANE, LLC, in
               violation of the ADA and ADAAG;

       B.      That the Court enter an Order requiring Defendants, CBR
               THOMPSON LANE, LLC, to (i) remove the physical barriers to
               access and (ii) alter El Mariachi to make the subject property readily
               accessible to and useable by individuals with disabilities to the full
               extent required by Title III of the ADA;


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       C.     That the Court enter an Order directing Defendant, pursuant to 28
              C.F.R. §36.211, to fulfill its continuing duty to maintain its
              accessible features and equipment so that the facility remains
              accessible to and useable by individuals with disabilities to the full
              extent required by Title III of the ADA;

       D.     That the Court enter an Order directing Defendant to implement and
              carry out effective policies, practices, and procedures to maintain
              the accessible features and equipment pursuant to 28 C.F.R. §36.302
              and 28 C.F.R. §36.211.

       E.     That the Court enter an Order directing Defendant to evaluate and
              neutralize its policies and procedures towards persons with
              disabilities for such reasonable time so as to allow them to undertake
              and complete corrective procedures;

       F.     An award of attorneys’ fees, costs (including expert fees), and
              litigation expenses pursuant to 42 U.S.C. § 12205;

       G.     An award of interest upon the original sums of said award of
              attorney’s fees, costs (including expert fees), and other expenses of
              suit; and

       H.     Such other relief as the Court deems just and proper, and/or is
              allowable under Title III of the Americans with Disabilities Act.


       Dated this the 9th day of December, 2020.

Respectfully submitted,

                                     By: /s/ J. Luke Sanderson
                                     J. Luke Sanderson, Esq.
                                     Counsel for Plaintiff
                                     Tennessee State Bar No.: 35712


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